     Case 2:11-cr-00107-WFN     ECF No. 1432     filed 04/30/13   PageID.6567 Page 1 of 2




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 4
                               UNITED STATES DISTRICT COURT
 5
                            EASTERN DISTRICT OF WASHINGTON
 6
      UNITED STATES OF AMERICA,                    )
 7                                                 )      NO.     CR-11-0107-WFN-9
                                Plaintiff,         )
 8                                                 )
             -vs-                                  )      ORDER MODIFYING
 9                                                 )      RELEASE CONDITIONS
      ALEX VILLANUEVA-GARCIA,                      )
10                                                 )
                                Defendant.         )
11
12         Pending before the Court is Defendant's Motion to Modify Release Conditions (ECF
13 No. 1429). Defendant hopes to go on a short trip to Seattle with his family prior to his report
14 date. He represents that neither the Government nor his probation officer oppose travel to
15 Seattle. Accordingly,
16         IT IS ORDERED that:
17         1. Defendant's Motion to Modify Release Conditions, filed April 27, 2013, ECF
18 No. 1429, is GRANTED. The Defendant shall discuss the trip with his probation officer
19 prior to leaving and ensure that his probation officer is apprised of his itinerary. He shall
20 follow his probation officers' instructions regarding the trip.
21         2. All conditions of supervised release REMAIN AS SET.
22         3. Defendant's Motion to Expedite, filed April 27, 2013, ECF No. 1430, is
23 GRANTED.
24         The District Court Executive is directed to file this Order and provide copies to counsel
25 for the Government, counsel for the Defendant AND TO the United States Probation
26 Office.

     ORDER MODIFYING
     RELEASE CONDITIONS - 1
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 1          DATED this 30th day of April, 2013.
 2
 3                                                s/ Wm. Fremming Nielsen
                                                     WM. FREMMING NIELSEN
 4   03-22-12                                 SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER MODIFYING
     RELEASE CONDITIONS - 2
